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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                  Case No. 8:18-cv-02010-JSM-JSS

  SHARON ACREE, individually, and on
  behalf of all others similarly situated,

                  Plaintiff,

  v.

  EF EDUCATION FIRST, INC., a California
  corporation, and GO AHEAD VACATIONS,
  INC., a Massachusetts corporation,

                  Defendants.


                               JOINT STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Sharon Acree and

Defendants EF Education First, Inc. and Go Ahead Vacations, Inc. stipulate to the dismissal of this

action in its entirety, with each party to bear its own attorneys’ fees and costs.

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on November 21, 2018, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF, which is being served this day on all

counsel of record via transmission of Notice of Electronic Filing generated by CM/ECF.



                                                   /s/ Avi R. Kaufman
